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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA

                    Plaintiff,
                                            CASE NO. 2:19-cr-20626-NGE-DRG
 v.

 EMANUELE PALMA,

       Defendant.
                                                /

      AMENDED PROTECTIVE ORDER BASED ON STIPULATION

      This Court, having reviewed the stipulation below, being advised in the

matter, and for the reasons stated by the parties,

      IT IS HEREBY ORDERED that the pretrial disclosure of discovery materials,

as described in the stipulation below, is controlled by the provisions of the amended

stipulation and agreement.


Dated:_March 15, 2021                          s/ Nancy G. Edmunds
                                               HON. NANCY G. EDMUNDS
                                               United States District Judge
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 /s/ Henry P. Van Dyck                          /s/ Greg D. Andres
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 Principal Assistant Chief                      GREG D. ANDRES
 U.S. Department of Justice                     NEIL H. MACBRIDE
 Criminal Division, Fraud Section               PAUL J. NATHANSON
                                                Davis Polk & Wardwell
 /s/ Timothy J. Wyse                            LLP
 JOHN K. NEAL
 TIMOTHY J. WYSE                                /s/ Kenneth M. Mogill
 Assistant United States Attorneys              KENNETH M. MOGILL
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 /s/ Todd W. Gleason
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 U.S. Department of Justice
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                             STIPULATION BY PARTIES


          IT IS HEREBY STIPULATED AND AGREED between the parties, the

 United States Attorney’s Office for the Eastern District of Michigan, the U.S.

 Department of Justice, Criminal Division, Fraud Section, and the U.S. Department

 of Justice, Environment and Natural Resources Division, Environmental Crimes

 Section (the “government”), defendant EMANUELE PALMA, and defendant’s

 counsel, that this Court issue an Order protecting from disclosure to the public

 information or documents provided by the government to the defendant or his

 counsel or by the defendant to the government that are subject to this Order. The

 parties state as follows:

     1.      The government believes that documents and information which will

             be provided to the defendant and/or his counsel by the government or

             to the government by defendant, or used by either the government or

             the defendant in its case in chief or at any other proceeding in this

             case, may contain any of the following types of protected information

             (“Protected Information”):

            a.   Personal identifiers, including social security numbers, driver’s

                 license numbers, dates of birth, bank account numbers, bank

                 records, and addresses of participants, witnesses, and victims in this

                 case.

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         b.   Information that constitutes Confidential Business Information that

              must be handled in accordance with the regulations found at 40

              C.F.R. part 2, subpart B, or that may constitute trade secrets as that

              term is used in the Trade Secrets Act, 18 U.S.C. § 1905, or any state

              version thereof.

         c.   Certain material obtained from the Environmental Protection

              Agency and the California Air Resources Board.

    2.   The government believes that Protected Information also may be found

         in, among other things, records of statements made by witnesses to the

         government.

    3.   The government believes that discovery in this case will be voluminous

         and many documents subject to discovery may contain Protected

         Information.    Redacting the Protected Information would prevent the

         timely disclosure of discovery to the defendant.

    4.   Accordingly, the government and, to the extent applicable, the

         defendant, agree to provide Protected Information without redacting

         such information.

    5.   Access to Protected Information will be restricted as follows: (a) if

         produced by the government, to the defendant and the defendant’s

         attorneys, and such attorneys’ paralegals, investigators, experts, and


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         other individuals employed or retained by the attorneys of record and

         performing services on behalf of the defendant, or other persons

         authorized by the Court and (b) if produced by the defendant, to the

         attorneys, and such attorneys’ paralegals, investigators, experts, and

         other individuals employed or retained by the government.       The above-

         designated individuals in subparts (a) and (b) (collectively, the “Attorney

         Teams”) shall not:

         a.   make copies for, or allow copies of any kind to be made by any

              other person of Protected Information;

         b.   allow any other person to read or have access to Protected

              Information; or

         c.   use Protected Information for any purpose other than in

              connection with the instant case.

    6.   Notwithstanding the foregoing, the Attorney Teams may provide

         Protected Information to and discuss Protected Information with Fiat

         Chrysler Automobiles, NV and FCA US LLC (collectively “FCA”), and

         other defendants, witnesses, potential witnesses, subjects or targets in

         this matter as well as their attorneys (including paralegals, investigators,

         experts, and other individuals employed or retained by their attorneys)

         (collectively, the “Qualified Parties”), provided that such Qualified Parties


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          (a) acknowledge and agree not to disclose the Protected Information to

          anyone and (b) acknowledge and agree not to use Protected Information

          for any purpose other than in connection with the instant case.

    7.    The Attorney Teams shall inform any person to whom disclosure may

          be made pursuant to this Order of the existence and terms of this Court’s

          Order.

    8.    Disclosure of documents pursuant to this Court’s Order shall not in

          and of itself constitute a waiver of any applicable privilege

          (including but not limited to the attorney-client privilege, attorney

          work product privilege, or deliberative process privilege).

    9.    This Order shall not restrict the use or introduction as evidence of any

          otherwise admissible documents or materials containing Protected

          Information during any stage of this matter so long as such documents or

          materials are filed under seal or the government or the defendant redacts

          the Protected Information from any publicly accessible copy of the

          documents or electronically stored information.       The filing of Protected

          Information under seal shall be permitted by this Order without any

          further sealing order or other order by this Court.

    10.   If the Attorney Teams learn that, by inadvertence or otherwise, they have

          disclosed Protected Information to any person or in any circumstance not


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          authorized under this Court’s Order, they must promptly make

          reasonable efforts to (a) notify the opposing party in writing of the

          unauthorized disclosures, (b) inform the person or persons to whom

          unauthorized disclosures were made of all the terms of this Order, and

          (c) retrieve all unauthorized copies of the Protected Information.

    11.   Upon conclusion of this action, the defendant’s attorneys of record shall

          return to government counsel or destroy and certify to government

          counsel the destruction of all discovery documents containing Protected

          Information within a reasonable time, not to exceed thirty days after the

          conclusion of the case, including any appeal in the event of an appeal.

          This provision does not require the return or destruction of documents

          containing Protected Information that have been incorporated into

          confidential attorney work product.

    12.   The government or the defendant shall be permitted to seek modification

          of this Order.


IT IS SO STIPULATED.




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/s/ Henry P. Van Dyck                          /s/ Neil H. MacBride
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Environmental Crimes Section
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Dated: March 12, 2021




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